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  8
  9
 10                       UNITED STATES DISTRICT COURT
 11                    SOUTHERN DISTRICT OF CALIFORNIA
 12
 13   HELIX ENVIRONMENTAL                       Case No. 18-cv-02000-AJB-NLS
      PLANNING, INC., a California
 14
      corporation,                              REPLY IN SUPPORT OF
 15                                             DEFENDANT HELIX
                  Plaintiff,                    ENVIRONMENTAL AND
 16
                                                STRATEGIC SOLUTIONS’
 17         v.                                  MOTION TO SET ASIDE
                                                DEFAULT PURSUANT TO FED.
 18
      HELIX ENVIRONMENTAL AND                   R. CIV. P. 55(c)
 19   STRATEGIC SOLUTIONS, a California
      corporation,                              Date:      May 30, 2019
 20
                                                Time:      2:00 p.m.
 21               Defendant.                    Courtroom: 4A
 22
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  1   I.    INTRODUCTION
  2         Plaintiff’s Opposition (Dkt. No. 14) to Defendant’s Motion to set aside
  3   default is a house of cards built on one shaky foundation: that Defendant will
  4   inevitably lose the case on the merits. But once that central assumption is regarded
  5   as less than self-evident, Plaintiff has no basis for overriding the strong policy
  6   favoring adjudication on the merits. The entire premise of the Opposition is that
  7   Defendant’s actions constitute infringement; that Plaintiff is so gravely harmed by
  8   the alleged infringement that any “delay” caused by litigation is prejudicial enough
  9   to bypass due process; and that Plaintiff’s alleged harm was so obvious to Defendant
 10   that Defendant knew or should have known that Plaintiff had no intention of
 11   negotiating a settlement, despite its express invitation to negotiate a settlement. All
 12   three assumptions are patently false. Defendant’s Motion should be granted and
 13   default should be set aside without awarding any sanctions to Plaintiff.
 14   II.   ARGUMENT
 15         A.      Material Facts Are in Dispute Regarding Infringement
 16         Plaintiff seeks a judgment against Defendant pursuant to a default on the
 17   theory that the merits of the case are so clear that litigation is unnecessary:
 18
                 Plaintiff Helix filed this action because Defendant has sold
 19              services identical or similar to Helix’s services using Helix’s
                 service mark. . . . Defendant uses the deceptively similar name
 20              ‘Helix Environmental and Strategic Solutions’ to advertise,
                 market, offer, and sell environmental consulting services that are
 21              similar or identical to Plaintiff’s services.
 22   (Opp. 1 (citations omitted).) But a default judgment is by its nature not an
 23   adjudication on the merits, and therefore is disfavored. See United States v. Signed
 24   Pers. Check No. 730 of Yubran S. Mesle, 615 F.3d 1085, 1091 (9th Cir. 2010)
 25   (“[J]udgment by default is a drastic step appropriate only in extreme
 26   circumstances; a case should, whenever possible, be decided on the merits.”
 27   (quoting Falk v. Allen, 739 F.2d 461, 463 (9th Cir. 1984); emphasis added). Nothing
 28   in Plaintiff’s Opposition indicates that these are such exceptional circumstances

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  1   calling for the drastic step of judgment by default. At most, Plaintiff repeatedly
  2   makes the one argument that infringement by Defendant is established beyond
  3   dispute and must be stopped. For example, Plaintiff argues that “the only alternative
  4   to litigation was for Defendant to stop using Plaintiff’s trademark” (Opp. 9)—
  5   assuming without proving not only the likelihood of confusion, but also the
  6   appropriate remedy. Plaintiff admits that it rejected Defendant’s offers “to alleviate
  7   consumer confusion” (Opp. 2), finding justification in its own speculative
  8   assessment that (1) the asserted mark is enforceable, and (2) customers are likely to
  9   be confused. (See Opp. 10-12.)
 10         But far from proving that Defendant has no meritorious defenses, Plaintiff’s
 11   extended argument about the validity of its asserted mark and the likelihood of
 12   confusion proves that there are several questions of material fact that should be
 13   litigated on the merits and that are inappropriate for a resolution by default. Among
 14   other things, Plaintiff relies on evidence from websites that are not even
 15   incorporated by reference in the Complaint. Thus, even if all the allegations in the
 16   Complaint were deemed to be true, Defendant would still have legitimate defenses
 17   that validity and infringement cannot be proven; and to the extent Plaintiff’s claims
 18   are not dismissed outright, it is clear that any substantive adjudication will require
 19   the factfinder to consider evidence and legal theories outside the pleadings.
 20         The deficiencies of Plaintiff’s method are underscored by the Opposition’s
 21   many self-serving observations and opinions that, if they are to be established as
 22   facts at all, will necessarily depend on fact and expert testimony, as well as other
 23   evidence not before the Court, including the following:
 24       “‘Helix’ is not primarily geographically descriptive of Plaintiff’s services.”
 25         (Opp. 10.)
 26       “San Diego’s Mount Helix neighborhood is not the only, or most obvious,
 27         connotation of the term ‘Helix’—‘Helix’ could also refer to the double-helix
 28         shape of DNA, or have a number of other scientific meanings.” (Id.)

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  1       “Nor would a reasonable consumer believe that Plaintiff’s environmental
  2         consulting services derive specifically from Mount Helix . . . .” (Opp. 11.)
  3       “Plaintiff and Defendant are not in entirely different industries.” (Opp. 12.)
  4       “[J]ust because some of Plaintiff’s clients may be sophisticated does not
  5         eliminate the probability of confusion.” (Id.)
  6       “Defendant’s less sophisticated clients could mistakenly contact Plaintiff.”
  7         (Id.)
  8         Thus, the raw speculations propping up the Opposition make it abundantly
  9   clear that Defendant’s defenses have merit and require the parties to litigate many
 10   disputed material facts, which cannot be resolved on a procedural sleight of hand.
 11         B.      Plaintiff Is Not Prejudiced by Litigation
 12         Once Plaintiff’s speculations and assumptions about infringement are
 13   disregarded, its claims about prejudice likewise crumble. Plaintiff opines that
 14   infringement alone, though unproven, is prejudicial: “There is a danger of prejudice
 15   to Plaintiff if its entry of default is set aside. When a trademark is infringed, the
 16   harm to the Plaintiff is ongoing because consumers will continue to confuse the
 17   Plaintiff’s and Defendant’s brands until the Defendant discontinues the unauthorized
 18   trademark use.” (Opp. 5.)
 19         Plaintiff’s logic is flawed, first because it takes for granted that Defendant
 20   does infringe, a question that is in dispute. Second, Plaintiff cites not one case that
 21   holds that any party is prejudiced by litigating the case on the merits. It cannot,
 22   because the opposite is true. See TCI Grp. Life Ins. Plan v. Knoebber, 244 F.3d 691,
 23   701 (9th Cir. 2001) (overruled on other grounds) (“It should be obvious why merely
 24   being forced to litigate on the merits cannot be considered prejudicial for purposes
 25   of lifting a default judgment.”).
 26         Plaintiff cites only inapposite authority relating to a preliminary injunction, a
 27   standard which Plaintiff has not even attempted to meet. eBay Inc. v.
 28   MercExchange, L.L.C., 547 U.S. 388, 391 (2006) (holding that a plaintiff must

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  1   demonstrate (i) it has suffered an irreparable injury; (ii) remedies available at law,
  2   such as monetary damages, are inadequate to compensate for that injury; (iii) that
  3   considering the balance of hardships between the plaintiff and defendant, a remedy
  4   in equity is warranted; and (iv) the public interest would not be disserved by a
  5   permanent injunction). (See Opp. 5-6.) Moreover, Plaintiff has made clear that it
  6   will not attempt to show why monetary relief is or is not adequate, as its motion for
  7   default judgment specifically declined to discuss damages. (See Dkt. No. 7.) Thus,
  8   Plaintiff’s cited standard for prejudice in the context of obtaining a preliminary
  9   injunction has nothing to do with the relevant facts. Plaintiff’s case law only
 10   supports the irrelevant proposition that infringement, if proven or likely to be
 11   proven, may be harmful, such that when combined with other factors it may
 12   support injunctive relief. It does not support the broad proposition proffered by
 13   Plaintiff, that unproven acts of alleged infringement constitute prejudice sufficient to
 14   dispense with an adjudication on the merits.
 15         Plaintiff’s claims of prejudice from delay is likewise flawed. Plaintiff argues
 16   that “Defendant’s failure to respond to the Complaint shows Defendant’s
 17   prerogative to avoid the situation for as long as possible, without offering a
 18   meaningful solution, while the Plaintiff’s harms continue to accrue.” (Opp. 13.) But
 19   Plaintiff’s assertion is belied by its own admissions. Plaintiff admits that “Defendant
 20   has previously made good-faith attempts to negotiate by offering to add disclaimers
 21   to its website and offering to stop using the standalone phrase ‘Helix
 22   Environmental.’” (Opp. 7 (emphasis added).) Thus, Defendant has offered
 23   meaningful solutions. Plaintiff may have exercised its prerogative to reject them,
 24   and in so doing, to allow its alleged harm to continue to accrue; but Defendant did
 25   not attempt to avoid the “situation” of either litigation or negotiated settlement.
 26         While Plaintiff acknowledges “[t]he relatively short length of the Defendant’s
 27   delay,” Plaintiff nevertheless urges that it “should not preclude entry of default
 28   judgment” because it “does not change Defendant’s pattern of evading the lawsuit.”

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  1   (Opp. 6.) This is a wild distortion. Not only does Plaintiff offer no support for the
  2   claim that an admittedly short delay justifies denying a motion to set aside default,
  3   but it also offers no basis for characterizing Defendant’s actions as a “pattern of
  4   evading the lawsuit.” Defendant has been engaged in the lawsuit from the time it
  5   waived service to the time it filed its motion to set aside default. Plaintiff is the one
  6   that evaded Defendant’s attempts to communicate. It failed to confirm or deny that
  7   the settlement negotiations had ended by December 24, 2018, when Defendant
  8   requested a renewal of the existing extension pending settlement negotiations at a
  9   time when Plaintiff was considering Defendant’s settlement offer, but had not yet
 10   made a counteroffer. (Arledge Decl.1 ¶ 13.) It did not respond to Defendant’s phone
 11   calls and emails on January 18 and 24, 2019, and it refused to stipulate to set aside
 12   default on January 30, 2019. (Arledge Decl. ¶¶ 16-21 & Ex. 2, at 1.) Defendant did
 13   not evade Plaintiff or the lawsuit. Defendant was not able to communicate with
 14   Plaintiff, despite its best efforts to ascertain the status of the lawsuit, because
 15   Plaintiff engineered that result. If Plaintiff suffered any prejudice from the timing of
 16   procedural matters in the litigation, it was due to Plaintiff’s purposeful tactics.
 17           C.     Plaintiff, Not Defendant, Engaged in Bad Faith Tactics
 18                  1.   Plaintiff Admits to a Bait-and-Switch in Its Settlement
 19                       Negotiations
 20           Rather than address its own purposeful and bad faith tactics orchestrated to
 21   force a default and avoid a full and fair adversarial process, Plaintiff projects a
 22   fictional evil motive to Defendant in engaging in settlement negotiations:
 23   “Defendant’s repeated requests to extend or continue negotiations were just stall
 24   tactics; bad-faith efforts to continue its willful infringing activities while capitalizing
 25   on Plaintiff’s goodwill, and avoid a lawsuit without having to abide by the laws
 26   prohibiting trademark infringement.” (Opp. 2.) Plaintiff fundamentally
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          Dkt. No. 9-2.
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  1   misunderstands the meaning of a settlement negotiation if it seriously contends that
  2   seeking a resolution other than total victory for the other side is a bad faith stall
  3   tactic. Indeed, Plaintiff betrays that its understanding of the term “settlement” is not
  4   its ordinary meaning: “It was not an absolute promise to resolve the matter out of
  5   court, but rather an incentive for Defendant to agree to stop using Plaintiff’s mark
  6   so that Plaintiff could drop the lawsuit.” (Opp. 4 (emphasis added).)
  7         Plaintiff thus admits that instead of a genuine offer for settlement, Plaintiff
  8   held out the false promise of compromise as a strong-arm tactic to induce Defendant
  9   voluntarily to give Plaintiff everything it would have gotten through a litigated
 10   judgment. In other words, while Defendant believed that the parties were
 11   negotiating a settlement—relying on Plaintiff’s express invitation to do just that (see
 12   Arledge Decl. Ex. 2, at 5)—Plaintiff understood that the parties were stipulating to a
 13   consent judgment. Perhaps it was obvious to Plaintiff that the parties would never
 14   reach a negotiated settlement, as Plaintiff alone knew that it would not accept any
 15   compromise; but that fact was never clear to Defendant before January 30, 2019.
 16         The most charitable interpretation of Plaintiff’s admission that it was seeking
 17   a consent judgment under the misleading guise of a compromise is that Plaintiff
 18   believed its own extrinsic fraud. But even if Plaintiff and its counsel held a sincere
 19   belief that what they called “settlement” actually referred to a total and voluntary
 20   injunction by Defendant, it does not prove that Defendant was unjustified in relying
 21   on Plaintiff’s false promise of a compromise in delaying its appearance in the case.
 22   Defendant’s misunderstanding of Plaintiff’s intent was at least excusable neglect, as
 23   Plaintiff used every day English words such as “settlement” with a special meaning
 24   Defendant could not have been privy to.
 25                2.   Defendant’s Post-Filing Conduct Was Not Culpable
 26         Moreover, though Plaintiff makes much ado about the delay in litigation after
 27   the Complaint was filed, in truth, Plaintiff directly authorized most of the delay and
 28   contributed to or caused the rest. Plaintiff requested the original 60-day extension to

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  1   December 24, 2018; it evaded Defendant’s attempts to communicate from
  2   December 24, 2018, to January 29, 2019; and it confirmed only on January 30,
  3   2019, that it was moving forward with litigation. (Arledge Decl. Exs. 2, 4, 5 & ¶¶
  4   16-21.) Plaintiff can hardly claim that Defendants engaged in bad faith tactics for
  5   taking eight days between January 30 and February 7, 2019, to prepare its Motion,
  6   when Plaintiff directly and indirectly delayed the lawsuit for 97 days between
  7   October 25, 2018 and January 30, 2019.
  8         Plaintiff relies on Franchise Holding II, LLC. v. Huntington Restaurants
  9   Group, Inc., 375 F.3d 922 (9th Cir. 2004), to argue that Defendant’s conduct was
 10   culpable, but the facts in that case are distinguishable. First, the defaulting defendant
 11   in Franchise Holding II did not make its first appearance until eleven months after
 12   the clerk entered default. See Id. at 925. Here, Defendant made its first appearance
 13   twenty days after the clerk entered default, twelve of which were stymied by
 14   Plaintiff’s refusal to answer Defendant’s phone calls and emails. Second, in
 15   Franchise Holding II, the plaintiff “explicitly warned [defendant] that negotiations
 16   had broken down and that it was proceeding with litigation” before it requested
 17   default. Id. at 926 (9th Cir. 2004). Here, Plaintiff continued to represent that “[i]t
 18   remains our strong hope that protracted litigation is not required” as late as January
 19   8, 2019. (Arledge Decl. Ex. 3.) Plaintiff did not explicitly warn that it was
 20   proceeding with litigation until January 30, 2019, after it had requested, and after the
 21   clerk had entered, default. (Arledge Decl. Ex. 1, at 1.)
 22         Plaintiff attacks a straw man in asserting that “even if Defendant mistakenly
 23   believed that its hope of achieving a future settlement excused it from responding to
 24   the Complaint, ‘inadvertence, ignorance of the rules, or mistakes construing the
 25   rules do not usually constitute “excusable” neglect.’” (Opp. 7-8 (citation omitted).)
 26   At no point did Defendant attribute the default to a mistake about the rules.
 27   Defendant attributes the default to its mistake about status of parties’ settlement
 28   discussions, a mistake which Plaintiff actively invited “by fraud or deception

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  1   practised on [Defendant] by [its] opponent, as by keeping [it] away from court [or] a
  2   false promise of a compromise . . . “ United States v. Throckmorton, 98 U.S. 61, 65-
  3   66 (1878) (emphasis added). Indeed, a default could not have been entered merely
  4   as an operation of the rules, or a mistake regarding the same, as default is not
  5   automatic upon the defendant’s missing a filing deadline. Rather, default must be
  6   requested by the plaintiff before the clerk is authorized to enter it. See Fed. R. Civ.
  7   P. 55(a). The Local Rules further provide for automatic dismissal of the default if
  8   the plaintiff does not take affirmative steps. L.R. 55.1 (“If plaintiff(s) fail(s) to move
  9   for default judgment within thirty (30) days of the entry of a default, the clerk will
 10   prepare, with notice, an order to show cause why the complaint against the defaulted
 11   party should not be dismissed.”). Thus, without Defendant’s reliance on Plaintiff’s
 12   misleading representations that default would be held in abeyance pending
 13   settlement negotiations, default could not have been entered.
 14           Plaintiff argues that “Defendant acted in bad faith by purposefully failing to
 15   respond to the Complaint until default was entered” because “attempted negotiations
 16   had been unproductive, and had reached an impasse[.]” (Opp. 8.) But Plaintiff cites
 17   no rule that negotiating a settlement past a filing deadline is bad faith. On the
 18   contrary, the Supreme Court has held that missing a filing deadline is excusable
 19   neglect. See Pioneer Inv. Serv. v. Brunswick Assocs., 507 U.S. 390, 394 (1993).
 20                 3.   If Relevant for Any Purpose, Plaintiff’s Evidence of Prefiling
 21                      Communications Further Proves Plaintiff’s Bad Faith
 22           Finally, Plaintiff attempts to argue that Defendants acted in bad faith by citing
 23   myriad irrelevant communications that occurred before the Complaint was filed, and
 24   before Defendant had any obligation to respond to a complaint.2 To the extent these
 25   communications have any purpose, they appear to be marshaled to support the
 26   inference that because “Plaintiff never wavered from its position that Defendant was
 27
 28   2
          See Decl. Elizabeth Donovan.
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  1   infringing Plaintiff’s trademark, Defendant could not have been caught by surprise
  2   when the negotiations failed.” (Opp. 4.)
  3         If Plaintiffs are correct that negotiations failed because Plaintiff never
  4   wavered from its position, then ab initio its request for a compromise was a
  5   misrepresentation. Plaintiff never had any intent to negotiate, a fact of which
  6   Defendant could not have been aware. Plaintiff acknowledges that Defendant acted
  7   in good faith. (See Opp. 7 (“Defendant has previously made good-faith attempts to
  8   negotiate by offering to add disclaimers to its website and offering to stop using the
  9   standalone phrase ‘Helix Environmental.’”).) Yet, inexplicably, it concludes that the
 10   adverse consequences to these good faith overtures were within Defendant’s control.
 11   Short of commandeering Plaintiff, there was nothing Defendant could have done
 12   control Plaintiff’s unreasonable rejection of settlement. The prefiling
 13   communications demonstrate Plaintiff’s bad faith, not Defendant’s.
 14         D.     Sanctions Are Unwarranted
 15         Plaintiff requests sanctions reimbursing it for the “preparation and filing of
 16   the Request for Entry of Clerk’s Default, its Motion for Entry of Default Judgment,
 17   and defending Defendant’s Motion to Set Aside Default.” (Opp. 13.) The requested
 18   sanctions are unwarranted, at least because Defendant offered to ameliorate these
 19   costs and Plaintiff refused. Defendant requested that Plaintiff stipulate to set aside
 20   the default. (Arledge Decl. Ex. 2, at 1-2.) Plaintiff had no reasonable basis to oppose
 21   the request, especially in light of the strong policy favoring adjudication on the
 22   merits; and it yet voluntarily assumed the unnecessary cost of engaging in expensive
 23   motion practice. (Id., at 1.) Defendant offered to stipulate to a briefing schedule that
 24   would have allowed the parties to defer briefing the motion for default judgment
 25   until after the potentially mooting Motion to set aside default was decided.
 26   (Declaration of Jenny Kim ¶ 2.) Plaintiff again refused, willingly increasing the time
 27   and costs to itself and the Court, so as not to brief and argue the motions in a
 28   common-sense order. (Id., at ¶ 3.)

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  1          The only procedure that Defendant did not specifically offer a solution to was
  2   filing the request for entry of default. But, as stated above, Defendant did not
  3   understand that settlement negotiation had ended until January 30, 2019, after the
  4   default was entered. Moreover, the fees associated with requesting entry of default is
  5   more than offset by the fees that Plaintiff forced Defendant to incur by unreasonably
  6   withholding its stipulation to routine procedural matters. Where plaintiffs
  7   unreasonably refuse to stipulate to setting aside defaults and drive up their own
  8   litigation costs with unnecessary motion practice, courts have denied their requests
  9   for sanctions. See, e.g., Anderson v. The Hain Celestial Grp., Inc., 2014 WL
 10   2967603, at *6 (C.D. Cal. July 1, 2014) (“[S]anctions are not appropriate where
 11   there is no prejudice to be remedied. . . . [Plaintiff] complicated the default
 12   proceedings by refusing to voluntarily set aside entry of default, thus causing both
 13   parties to incur unnecessary costs.”); Starbuzz Tobacco, Inc. v. Abdallah, 2011 WL
 14   13216984, at *10 n.53 (C.D. Cal. Aug. 1, 2011) (“While Starbuzz has undoubtedly
 15   incurred expenses as a result of opposing this motion, Abdallah offered Starbuzz an
 16   opportunity to avoid incurring such costs by stipulating to set aside the entry
 17   of default.”)
 18   III.   CONCLUSION
 19          For the foregoing reasons, and for the reasons stated in the Motion, Defendant
 20   respectfully requests that the Court set aside the default entered against it.
 21
 22   Dated: February 28, 2019                ONE LLP
 23
                                              By: /s/ Jenny S. Kim
 24
                                                  Christopher W. Arledge
 25                                               Jenny S. Kim
                                                  Attorneys for Defendant,
 26                                               Helix Environmental and Strategic
                                                  Solutions
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  1                            CERTIFICATE OF SERVICE
  2         I certify that on February 28, 2019, the foregoing document was electronically
  3   filed with the Clerk of the Court using the CM/ECF system, which will send
  4   electronic notification of such filing to the CM/ECF participant(s) noted below:
  5
  6   Gary L. Eastman                          Christopher W. Arledge
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  9   Attorneys for Plaintiff,
      Helix Environmental Planning, Inc.       Attorney for Defendant Helix
 10                                            Environmental and Strategic Solutions
 11
 12
 13                                              /s/ Jenny S. Kim
                                                 Jenny S. Kim
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